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                                         March 31, 2023
By ECF
The Honorable LaShann DeArcy Hall
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

               Re:    Arbeeny v. Cuomo et al., 22-CV-02336-LDH-LB

Dear Judge DeArcy Hall:

       Pursuant to Section III.A.1. of this Court’s Individual Rules, on behalf of Defendant
Dr. Howard A. Zucker we respectfully request a pre-motion conference in anticipation of making
a motion to dismiss Plaintiff’s First Amended Complaint (the “Amended Complaint”) pursuant to
Rule 12(b)(6) of the Federal Rules of Civil Procedure.

       Plaintiff is the alleged administrator of the estate of Norman Arbeeny, a former resident of
Cobble Hill Health Center (“CHHC”) who passed away on April 21, 2020. Plaintiff has alleged
claims against former New York Governor Andrew Cuomo, State of New York, Melissa DeRosa,
and Dr. Zucker, asserting purported “class” claims under 42 U.S.C. § 1983 and the Due Process
Clause of the U.S. Constitution and statutory claims under New York’s Estates Powers & Trusts
Law. The Amended Complaint names Dr. Zucker as a Defendant but does not identify any specific
connection between him and the claims at issue beyond his former statewide role as the
Commissioner of the New York State Department of Health (“DOH”). For the reasons set forth
below, Plaintiff has not stated any valid claim against Dr. Zucker.
        First, Plaintiff’s § 1983 claim against Dr. Zucker in his individual capacity fails because
qualified immunity applies, which “protects government officials from liability for civil damages
insofar as their conduct does not violate clearly established statutory or constitutional rights of
which a reasonable person would have known.” Pearson v. Callahan, 555 U.S. 223, 231 (2009)
(internal quotation marks omitted). Qualified immunity, which is intended to balance “the need
to hold public officials accountable when they exercise power irresponsibly and the need to shield
officials from harassment, distraction, and liability when they perform their duties reasonably[,]”
id., “provides ample protection to all but the plainly incompetent or those who knowingly violate
the law.” Panzella v. Cnty. of Nassau, No. 13-CV-5640 (JMA) (SIL), 2015 WL 5607750, at *8
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(E.D.N.Y. Aug. 26, 2015) (citing Malley v. Briggs, 475 U.S. 335, 341 (1986)). Here, Plaintiff’s
allegations against Dr. Zucker concern a March 25, 2020, DOH Directive (“Directive”) that the
Amended Complaint alleges was issued “on the advice and endorsement of” Dr. Zucker. (Am.
Compl. ¶ 18). In relevant part, the Directive prohibited nursing homes from denying admission or
re-admission “solely based on a confirmed or suspected diagnosis of COVID-19” and prohibited
nursing homes “from requiring a hospitalized resident who is determined medically stable to be
tested for COVID-19 prior to admission or readmission.” (Id.) Among other deficiencies, Plaintiff
has not plausibly alleged that, at the outset of the COVID-19 pandemic, issuance of the Directive
– which was consistent with federal Center for Disease Control’s guidance – constituted conduct
violative of clearly established statutory or constitutional rights of which a reasonable person
would have known. Under the circumstances, Plaintiff has not plausibly alleged that “any
reasonable official would have known for certain that [Dr. Zucker’s] conduct,” as alleged, “was
unlawful under then-existing precedent.” Liberian Cmty. Ass’n of Connecticut v. Lamont, 970
F.3d 174, 187 (2d Cir. 2020) (emphasis added) (cleaned up) (citing Ziglar v. Abbasi, 582 U.S. 120,
152 (2017)).
         Significantly, similar claims against Dr. Zucker have already been dismissed in the Eastern
District of New York based upon qualified immunity. On March 4, 2021, plaintiff Mary Mauro
filed a complaint in the Eastern District of New York on behalf of herself and her deceased husband
against Andrew Cuomo, Dr. Zucker, Fred Sganga, The Long Island State Veterans Home, and
State University of New York. (See No. 2:21-CV-1165 (HG) (ARL), Compl., ECF No. 1.) On
March 8, 2023, Hon. Hector Gonzalez granted defendants’ motions to dismiss, finding that,
because of sovereign immunity, Dr. Zucker was immune from plaintiffs’ claims against him for
any actions taken in his official capacity, and that qualified immunity protected Dr. Zucker from
any claims against him in his individual capacity because plaintiffs did not sufficiently plead a
violation of their federal rights. (No. 2:21-CV-1165 (HG) (ARL), Mem. and Order, ECF No. 63,
at 12–14.) The court also held that plaintiffs “failed to establish that a reasonable state official
confronted with the facts then known by the Defendants would have believed that their actions
were unlawful.” (Id. at 15.) The court found that “‘When [state] officials undertake to act in areas
fraught with medical and scientific uncertainties, their latitude must be especially broad.’” (Id. at
12 (quoting South Bay United Pentecostal Church v. Newsome, 140 S.Ct. 1613, 1613 (2020)
(Roberts, C.J., concurring in the judgment)).) To protect that latitude, as the court noted, “federal
courts around the country have granted state officials qualified immunity at the motion to dismiss
stage for restrictions implemented during the COVID-19 pandemic on account of the public health
crisis, and the ongoing and changing circumstances.” (Id. at 13–14 (citing six federal cases).)
With respect to the instant Amended Complaint, Dr. Zucker faced the same “evolving and dynamic
circumstances” created by the COVID-19 pandemic and, similar to the plaintiffs in Mauro,
Plaintiffs here have not shown that a reasonable state official with the same facts known by Dr.
Zucker would have thought that their actions were unlawful. (See id. at 15–16.)
        Second, Plaintiff fails to plausibly allege any causal connection between Dr. Zucker, the
Directive, and the death at issue. As a preliminary matter, the Amended Complaint fails to allege
any interaction between Dr. Zucker and any CHHC staff member or resident, and instead relies on
a DOH report that stated that “approximately 6,326 COVID-positive residents were admitted to
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nursing home facilities between March 25, 2020[,] and May 8, 2020[,] and that there had been
6,432 COVID-19 resident deaths in New York state nursing homes through late June.” (Am.
Compl ¶ 76). Plaintiff’s attempt to connect the Directive to the death at issue is “too attenuated to
be a plausible basis for showing [Dr. Zucker]’s personal involvement” in the alleged claims. See
Marom v. City of New York, No. 15-CV-2017 (PKC), 2016 WL 916424, at *17 (S.D.N.Y. Mar. 7,
2016). Plaintiff has also not alleged that the purported constitutional deprivation was a
“foreseeable consequence” of the Directive, as required to state a § 1983 claim, because Plaintiff
failed “to draw any causal connection” between the Directive and Mr. Arbeeny’s passing. See id.
at *16, 19. Moreover, Plaintiff cannot rely solely on Dr. Zucker’s position as the Commissioner
of DOH as a basis for liability, as “[a]n individual cannot be held liable for damages under Section
1983 merely because he held a high position of authority.” Licari v. Toulon, No. 22-CV-0148
(JMA) (SIL), 2022 WL 493210, at *3 (E.D.N.Y. Feb. 17, 2022) (citing Back v. Hastings on
Hudson Union Free Sch. Dist., 365 F.3d 107, 127 (2d Cir. 2004) (cleaned up)).

        Third, Plaintiff’s state law claim pursuant to New York’s Estates Powers & Trusts Law
should be dismissed because it is time-barred. According to the Amended Complaint Mr. Arbeeny
passed away on April 21, 2020. (Am. Compl. ¶¶ 1, 7, 16.) The state law claim must be brought
within two years of the decedent’s death. New York Estates Powers & Trusts Law § 5-4.1. The
Complaint in this case was not filed until April 26, 2022, five days after the two-year statute of
limitations period expired. Plaintiff’s state law claim should be dismissed as well.

        For the reasons set forth above, Dr. Zucker respectfully requests a pre-motion conference
in anticipation of making a motion to dismiss the Amended Complaint. If the Court determines
that a pre-motion conference is unnecessary, Dr. Zucker respectfully requests permission to file a
motion to dismiss the Amended Complaint.

                                                              Respectfully submitted,




                                                              Nelson A. Boxer
                                                              Deepa Devanathan

Copies to:
All counsel of record (by ECF)
